
68 Pa. Commonwealth Ct. 96 (1982)
William G. Giltinan, Appellant
v.
Commonwealth of Pennsylvania, Appellee.
No. 697 C.D. 1980.
Commonwealth Court of Pennsylvania.
Argued March 4, 1982.
July 30, 1982.
Argued March 4, 1982, before President Judge CRUMLISH and Judges ROGERS and BLATT, sitting as a panel of three.
Joshua M. Briskin, for appellant.
Harold H. Cramer, Assistant Counsel, with him Ward T. Williams, Chief Counsel, and Jay C. Waldman, General Counsel, for appellee.
OPINION BY PRESIDENT JUDGE CRUMLISH, JR., July 30, 1982:
William Giltinan appeals a Montogomery County Common Pleas Court order which affirmed a six-month *97 suspension of his driver's license for refusal to submit to a breathalyzer test. 75 Pa. C.S. § 1547.
Our scope of review is limited to determining whether there has been an error of law or whether the findings of the lower court are unsupported by competent evidence. Appeal of Capozzoli, 63 Pa. Commonwealth Ct. 411, 437 A.2d 1340 (1981). In that the court below is the finder of fact and the arbiter of credibility and because the record supports the court's conclusion that Giltinan refused the breathalyzer test, we will affirm on the able opinion of Judge SMILLIE, Pa. D. &amp; C.3rd (1980).
Affirmed.

ORDER
The order of the Montgomery County Common Pleas Court, No. 79-11091 dated March 12, 1980, is affirmed.
Judge MENCER did not participate in the decision in this case.
